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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

KINGDOM WISDOM, LLC

 

 

 

Plaintiff,
de
y. Case No. 8:21-cv-00834-TDC
GREATER BADEN MEDICAL SERVICES, INC. *
Defendant. *

DISCLOSURE OF CORPORATE INTEREST

Cheek all that apply:

KINGDOM WISDOM, LLC

(name of party)

 

l@l I certify, as party/counsel in this case that

is not an affiliate or parent of any corporation, and no corporation, unincorporated association,
partnership or other business entity, not a party to the case, has a financial interest in the outcome
of this litigation as defined in Local Rule 103.3 (D. Md.).

KINGDOM WISDOM, LLC

(name of party)

 

L] The following corporate affiliations exist with

 

(names of affiliates)

L The following corporations, unincorporated associations, partnerships or other business
entities which are not parties may have a financial interest in the outcome of this litigation:

 

(names of entities with possible financial interests)

DisclosureCorpInterest (03/2015)
Disclosure of Corporate Interest

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l@ Inacase based on diversity jurisdiction, the following is a list of all members of

KINGDOM WISDOM, LLC

 

ARTHUR HAWTHORNE, III

(name of LLC party)

 

(name of member)

 

(name of member)

 

(name of member)

 

(name of member)

and their states of citizenship:

VIRGINIA

 

(state of citizenship)

 

(state of citizenship)

 

(state of citizenship)

 

(state of citizenship)

Note: If there are additional LLC members, please provide their names and states of citizenship

on a separate sheet of paper.

Date

UI yo’

|

Signature

Edward Griffin, No. 16435

 

Printed name and bar number

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